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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NORTH CAROLINIWIAY 17 AN 9: 4.9

CHARLOTTE DIVISION Lan mae.
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Civil Action File No. 3. O[ C\ a5 WMBUGE N.C, (
JACKIE DAWN LUTZ, |
Plaintiff,
VS. NOTICE OF REMOVAL

PIKE ELECTRIC, INC., DONALD
ANDERSON, NEAL SANDERS,
ERNEST JOHNSON, BOBBY ELLIS,

Defendants.

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Defendants, Pike Electric, Inc., Donald Anderson, Neal Sanders, Ernest Johnson and
Bobby Ellis hereby give Notice of Removal of the above-styled case from the Union County,
North Carolina General Court of Justice, Superior Court Division, to the United States District
Court for the Western District of North Carolina, Charlotte Division, on the following grounds:

1. On or about March 28, 2001, the plaintiff filed an action against the defendants in
the Union County, North Carolina General Court of Justice, Superior Court Division. The case
filed by the plaintiff is styled, Jackie Dawn Lutz, Plaintiff v. Pike Electric, Inc., Donald
Anderson, Neal Sanders, Emest Johnson and Bobby Ellis, Defendants, 01 CvS 00601.

2. A copy of the Summons, Complaint, Amended Complaint and all other pleadings
of record filed in the state court are attached as Exhibit 1. The Complaint is the initial pleading
setting forth the claims upon which the action is based. The earliest service date for any of the
defendants was April 25, 2001, when Pike Electric, Inc. was served with the Summons and

Complaint; accordingly, this Notice is timely pursuant to 28 U.S.C. § 1446(b).

Case 3:01-cv-00252-GCM Document1 Filed 05/17/01 Page 1 of 50
3. In this action, the plaintiff seeks to recover against the defendants for alleged
“violation of her rights under Title VII of the Civil Rights Act of 1964.” Therefore, this Court
has original jurisdiction of the action under 28 U.S.C. § 1331.

4, For the reason set forth above, this action is one over which the United States
District Court has removal jurisdiction pursuant to 28 U.S.C. §§ 1441 and 1446. This Notice is
filed within thirty days from the date of first notice of the action, and less than one year from the
date the action was filed in the Superior Court of Union County, North Carolina. A true and
accurate copy of this Notice will be filed with the Clerk of the Superior Court of Union County,
North Carolina, promptly after filing with this Court.

WHEREFORE, based upon the Court’s federal question jurisdiction, defendants hereby
remove and give Notice of the Removal of this action.

This the 7% day of May, 2001.
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MO Kee €

, Julie C. Theall
\ N.C. State Bar No. 13732

 

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Virginia. Bain
N.C. State Bar No. 26428

Attorneys for Defendants
OF COUNSEL:
SMITH HELMS MULLISS & MOORE, L.L.P.
300 N. Greene Street, Suite 1400
Post Office Box 21927

Greensboro, North Carolina 27420
Telephone: (336) 378-5200

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CERTIFICATE OF SERVICE

This is to certify that the foregoing Notice of Removal has been duly served upon the
plaintiff by depositing a copy thereof in the United States mail, first-class, postage prepaid,
addressed to the following counsel of record:

Michael A. Johnson, Jr.
153 Church Street, N.E.

Concord, North Carolina 28025
Attorney for Plaintiff

This the /€ day of May, 2001.

\

‘Julie C. Theail
( ~ N.C. State Bar No. 13732

 

Case 3:01-cv-00252-GCM Document1 Filed 05/17/01 Page 3 of 50
Case 3:01-cv-00252-GCM Document1 Filed 05/17/01 Page 4 of 50
 

 

 

‘STATE OF NORTH CAROLINA _ | File cys 1CWO00KR0i

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Film No.

 

 

UNION County 227 3... §: 2 Inthe General Court of Justice
[District [¢] Superior Court Division

 

UNO lo
Plaintiff's Name: JACKIE DAWN LUTZ
fang

 

Address: C/O MICHAEL JOHNSON, 153 CHURCH STREET, NorTH

 

 

City, State & Zip: CONCORD, NORTH CAROLINA 28025

 

 

 

 

 

 

 

* ‘ :
VERSUS CF Alias and Pluries Summons

Defendant The summons originally issued against you was

PIKE ELECTRIC, INC., AND DONALD ANDERSON, returned not served.

NEAL SANDERS, ERNEST JOHNSON AND BOBBY Date Last Suamens Issued * Disregard this section unless

ELLIS the block is checked

TO: Name & Address of First Defendant TO: Name & Address of Second Defendant

PIKE ELECTRIC, INC.

C/O REGINALD L. BANNER

351 RIVERSIDE DRIVE

Mount AIRY, NC 27030 336 789-2171

 

A Civil Action Has Been Commenced Against You!

You are notified to appear and answer the complaint of the plaintiff as follows:

1. Serve a copy of your written answer to the complaint upon the plaintiff or his attorney within thirty (30) days after
you have been served. You may serve your answer by delivering a copy, or by mailing it, to the plaintiff at the plaintiffs

last known address, and

2. File the original of the written answer with the Clerk of Superior Court of the county named above.

If you fail to answer the complaint, the plaintiff will apply to the court for the relief demanded in the complaint.

 

Name and Address of Plaintiff's Attorney (If none, Address of Plaintiff Date Issued

Michael A. Johnson, In | - 4. 38 0 |

ne

 

Time Issued

8.0% Ku Cem

 

MICHAEL A. JOHNSON, JR., P.A

153 Church Street, North Auypoutn ney

 

Concord, NC 28025

(704) 78 8-6721 of Deputy csc CTAssistant Cs a Clerk cd Superior Court

 

 

 

 

OO ENDORSEMENT Date of Endorsement

 

Time Issued

C1 AM C) PM

 

This summons was originally issued on the date indicated above and
was returned not served. At the request of the plaintiff, the time | Signature
within which the summons must be served is extended thirty (30)

 

days.

 

(Deputy CSC ClAssistant CSC Clerk of Superior Court |

 

Case 3:01-cv-00252-GCM Document1 Filed 05/17/01 pagetlobsg 4/2s//0) (RA

 

 
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Mth trey
Michael A. Johnson, Jr., P.A. “
153 Church Street, NE Fos
Concord, North Carolina 28025 or Re
Telephone: (704} 788-6721 bee

UNION ts a

Facsimile: (704) 795-9826

Jackie Dawn Lutz a

THE GENERAL COURT OF JUSTICE

SUPERIOR COURT DIVISION

UNION COUNTY, NORTH CAROLINA

JACKIE DAWN LUTZ,

Plaintiff,

vs.

PIKE ELECTRIC. INC.. DONALD ANDERSON. NEAL SANDERS.

ERNEST JOHNSON, BOBBY ELLIS,

__Defendant

 

01 CvS

COMPLAINT

(Jury Trial Demanded)

 

 

I. INTRODUCTION
This is an action for sexual harassment and constructive discharge of Plaintiff Jackie Dawn Lutz by Defendant
Donald Anderson, Neal Sanders, Earnest Johnson, Bobby Ellis and Pike Electric, lnc., and for violation and foq

violation of Plaintiff's rights under Title VII of the Civil Rights Act of 1964. This is also an action for Assault and

Battery against Earnest Johnson.

M1. PARTIES
1. Plaintiff Jackie Dawn Lutz is a citizen and resident of the United States and a resident of the City of
Monroe, Union County, North Carolina. ..
2. Defendant, Pike Electric, Inc. (Pike) is a North Carolina corporation -that was ‘doing business in the City of

Charlotte, Mecklenburg County, North Carolina. Defendant Pike was at all relevant times an employer
within the meaning of Section 701 (b},(g) and (h) of Title Vil of the Civil Rights Act of 1964, and at al

relevant times has had more than 15 employees.

Page 1
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3. Defendant Donald Anderson was at all relevant times Vice President of the Defendant Pike, and was at ail
relevant times an employer and agent of an employer within the meaning of Title Vil of the Civil Rights
Act of 1964. Defendant Donald Anderson is upon information and belief a resident of Mecklenburg
County, North Carolina.

4. Defendant Neal Sanders was at all relevant times Regional Supervisor of the Defendant Pike, and was at
all relevant times an employer and agent of an employer within the meaning of Title Vil of the Civil Right
Act of 1964. Defendant Neal Sanders is upon information and belief a resident of Mecklenburg County,
North Carolina.

5. Defendant Ernest Johnson was at all relevant times Zone Supervisor of the Defendant Pike, and was at al
relevant timas an employer and agent of an employer within the meaning of Title VII of the Civil Right

Act of 1964. Defendant Ernest Johnson is upon information and belief a resident of Mecklenburg County

North Carolina.

 

6. Defendant Bobby Ellis was at all relevant times Zone Supervisor of the Defendant Pike, and was at al
relevant times an employer and agent of an employer within the meaning of Title VI! of the Civil Right
Act of 1964. Defendant Bobby Ellis is upon information and belief a resident of Mecklenburg County
North Carolina.
Il, JURISDICTIONAL STATEMENT
7. Plaintiff brings this action pursuant to the common law of the State of North Carolina, Title Vil of the Civi

Rights Act of 1964, 42 U, S. C. 2000e et. Seq., and Title | of the Civil Rights Act of 1991, 42 U. $.C¢

1981a.
. IV, FACTUAL STATEMENT -
8. Pisin Jackie Dawn Lutz was employed by Defendant Pike from March 16, 1998, until April 14, 2000.
9. Plaintiff at the time of her constructive discharge was 4 secretary/dispatcher for the Defendant Nei
Sanders.
10. During the entire tenure of her employment with the Defendant Pike, Plaintiff-butz was sexually harassed

~

by various management personnel of the Defendant Pike.
11. Such harassment included Mike Stillwell saying, “I like your dress and everything in it even better. Bobby
Ellis was constantly kissing at Plaintiff, even after he was cautioned by supervisor Bo Lankford. Earnest

Johnson popped Plaintiff on the rear end with rolled up papers. Bobby Ellis gave Plaintiff a Pike Golf Shirt

Page 2
Case 3:01-cv-00252-GCM Document1 Filed 05/17/01 Page 7 of 50

 

 
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When Plaintiff wore the golf Shirt Bobby Ellis told Plaintiff, she was suppose to wear the shirt without

bra. Earnast Johnson coming up from behind and massaging Plaintiff shoulders, and Neil

Donald Anderson carried on a conversation about the size of a doctor’s fingers and that Plaintiff would

probably want to know that doctors name. Plaintiff rejected all comments and sexual advances made by

anyone at Pike.

12. As a result of this hostile work environment Plaintiff could no longer take the press

constructively discharged from her position.

13. More than 180 days prior to filing this action, Plaintiff filed a charge of discrimination with the EEOC

alleging that she had been discriminated against by all the Defendants, when she was

constructively discharged.

V. LEGAL CLAIMS

PLAINTIFF'S FIRST CAUSE OF ACTION - - Quid Pro Quo Sexual Harassment and Wrongful Termination of

Employment and in Violation of North Carolina Public Policy

14. The Paragraphs enumerated here and above are reincorporated by reference herein.

15. The public policy of the State of North Carolina includes the prohibition against discriminating against

employees who refuse sexual advances and reject sexual harassment in violations of Title VII of the Civi

Rights Act of 1964.

16. in allowing and participating in the sexual harassment and constructively discharging the Plaintiff th

Defendants violated the public policy of the State of North Carolina.
17. As a result of Defendants’ acts, Plaintiff has lost wages and benefits, and suffered emoti

Plaintiff is entitled to receive compensatory damages in an amount in excess of $10,000.00

18. Detendants’ actions were done maliciously, willfully of wantonly, of in a manner that demonstrates

reckless disregard for the Plaintiff's rights. As a result of Defendants’ conduct, Plaintiff

recover punitive damages in an amount in excess of $10,000.00

B. PLAINTIFF’S SECOND CAUSE OF ACTION - - Violation of Title Vil at .
19. Since at least the fall of 1999, the Defendants have engaged in unlawful employment practices at th

Sanders and

ure and wad

harassed and

onal distress 4

is entitled ta

 

Charlotte office of Pike Electric, inc., in violation of Section 703 and 704(a) of the Title Vil of the Civi

Rights Act of 1964, 42 U.S.C. 2000¢e-2 and 3(a) et. seq.

Page 3
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Case 3:01-cv-00252-GCM Document1 Filed 05/17/01 Page 9 of 50

Plaintiff has satisfied the jurisdictional prerequisites to an action under Title Vil by filing a charge off
discrimination against Defendants within 180 days of her termination. Plaintiff has received a right to sud
letter from the EEOC.
Defendants sexually harassed Plaintiff to the extent that it created a work environment so severe and
hostile that she was constructively discharged. Defendants’ acts constitute a violation of Title Vil'd
prohibition against sex discrimination, including sexual harassment. Defendants have violated Section
704(a} of Title Vit, 42 U.S, C. 2000e-3(a).

As a proximate result of Defendants’ wrongful conduct Plaintiff suffered loss of wages and benefits
emotional distress, humiliation, joss of reputation and other damages in an amount in excess of
$10,000.00.
Defendants’ actions were done maliciously, willfully or wantonly, or in a manner that demonstrates 4
reckless disregard for the Plaintiff's rights. As a result of Defendant's conduct, Plaintiff is entitled to
recover punitive damages in an amount in excess of $10,000.00.

PLAINTIFF’S THIRD CAUSE OF ACTION - - Assault and Battery

Earnest Johnson hit Plaintiff on the rear end with a rolled up paper after approaching Plaintiff from behind.
Plaintiff rejected this advance and made it clear to Earnest Johnson that this behavior was not acceptable.
Earnest Johnson touched the Plaintiff without her consent.

Plaintiff was kept constantly aware of and in apprehension of Earnest Johnson.

Plaintiff was in fear of a subsequent attack on her person.

Earnest Johnson again approached the Plaintiff from behind and began messaging Plaintiff’s shoulders.

Plaintiff pulled away and again made it clear to Earnest Johnson that this touching was not with hey

consent and was unwanted. -

As a direct and proximate result of Earnest Johnson‘s placing Plaintiff in apprehension of being touched
and Plaintiff being offensively touched, Plaintiff lost wages and benefits, suffered emotional distress
humiliation, loss of reputation and other compensatory damages in an amourtin excess of Ten Thousand
Dollars ($10,000.00). .

Earnest Johnson's actions were done maliciously, willfully or wantonly or in a manner that demonstrates

a reckless disregard for the Plaintiff's rights. As a result of Defendants’ conduct, Plaintiff is entitled to

recover punitive damages in an amount in excess of Ten Thousand Dollars ($10,000.00).

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WHEREFORE, Plaintiff prays this Honorable Court enter judgment against Defendants as follows:

Case 3:01-cv-00252-GCM Document1 Filed 05/17/01 Page 10 of 50

IV. JURY TRIAL DEMANDED

Plaintiff hereby demands a trial by jury.
PRAYER FOR RELIEF

Enter a judgment against the Defendants finding that they have sexually harassed and constructively
discharged Plaintiff;

Declare that Defendants have violated Plaintiff's rights under Title Vil of the Civil Rights Act of 1964;
Award Plaintiff compensatory damages in excess of $10,000.00, including damages for financial losd
suffered and for emotional pain and suffering: humiliation, anxiety, loss of reputation, and harm to
Plaintiff's economic opportunities;

Award Plaintiff punitive damages for Defendants’ willful and malicious conduct;
Award Plaintiff costs and reasonable attorney fees to Plaintiff's attorney:
Award Plaintiff prejudgment interest on the above;

Grant such other relief to Plaintiff as this Court deems equitable.

Respectfully submitted,

wl Ye.

Michael A. Johnson, U

at 153 Church Street, NE

- Concord, North Carolina 28025
Telephone: (704) 788-6721
Facsimile: (704) 795-9826

 

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VERIFICATION
STATE OF NORTH CAROLINA
CABARRUS COUNTY

Jackie Dawn Lutz, being duly sworn deposes and says:

information and belief, and as to those matters (s)he believes them to be true.

  

Sworn to and subscribed before me, this
27" day of March, 2001.

Notary Public

My Commission Expires: August 4, 2003

 

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Page 6
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That the contents of the foragoing Complaint are true to her own knowledge, except as to matters stated upon

 

 
 

 

 

 

 

 

   

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Dy LE Fp Film No.
UNION County. ..2 > 4;; &: ¢2 In the General Court of Justice
O District [#] Superior Court Division
UNIS Co eT
Plaintiffs Name: JACKIE DAWN LUTZ
py

 

vl

 

Address: C1O MICHAEL JOHNSON, 153 CHURCH STREET, NORTH

 

City, State & Zip: CONCORD, NORTH CAROLINA 28025

 

 

 

 

VERSUS

 

Defendant
PIKE ELECTRIC, INC., AND DONALD ANDERSON,

* [] Alias and Pluries Summons

The summons originally issued against you was
returned not served.

 

NEAL SANDERS, ERNEST JOHNSON AND BOBBY
ELLIS

Date Last Summons Issued * Disregard this section unless

the block is checked

 

 

10: Name & Address of First Defendant
DONALD ANDERSON
4150 PEBBLE STREET

CHARLOTTE, NC 28201 704

 

TO: Name & Address of Second Defendant
Neal Sanders

4150 PEBBLE STREET
CHARLOTTE, NC 28201

 

last known address, and

A Civil Action Has Been Commenced Against You!

You are notified to appear and answer the complaint of the plaintiff as follows:
1. Serve a copy of your written answer to the complaint upon the plai
you have been served. You may serve your answer by delivering a copy,
2. File the original of the written answer with the Clerk of Superior Court of the county named above.

If you fail to answer the complaint, the plaintiff will apply to the court for the relief demanded in the complaint.

ntiff or his attorney within thirty (30) days after
or by mailing it, to the plaintiff at the plaintiff's

 

Name and Address of Plaintiff's Attorney (If none, Address af Plaintiff)

om

Michael A. Johnson, Ire

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Time Issued

Dba, CPM

Date Issued

4-980!

 

 

MICHAEL A. JOHNSON, JR., P.A.
153 Church Street, North

pe WW

 

Concord, NC 28025
(704) 788-6721

Abeputy CSC Ci Assistant CSC a Clerk rk of Suptrior Court

 

 

( ENDORSEMENT

Date of Endorsement Time Issued

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This summons was originally issued on the date indicated above and
was returned not served. At the request of the plaintiff, the time
within which the summons must be served is extended thirty (30)

Signature

 

days.

 

 

(Deputy CSC ClAssistant CSC (Clerk of Superior Court

 

 

 

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Michael A. Johnson, Jr., P.A.
153 Church Street, NE
Concord, North Carolina 28025
Telephone: (704) 788-6721
Facsimile: (704) 795-9826

Jackie Dawn Lutz

JACKIE DAWN LUTZ,
Plaintiff,

vs.

PIKE ELECTRIC. INC.. DONALD ANDERSON. NEAL SANDERS.

ERNEST JOHNSON, BOBBY ELLIS,

Defendant

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THE GENERAL COURT OF JUSTICE

SUPERIOR COURT DIVISION

UNION COUNTY, NORTH CAROLINA

01 CvS

COMPLAINT

(Jury Trial Demanded)

 

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This is an action for sexual harassment and constructive discharge of Plaintiff Jackie Dawn Lutz by Defendanta
Donald Anderson, Neal Sanders, Earnest Johnson, Bobby Ellis and Pike Electric, Inc., and for violation and for

violation of Plaintiff's rights under Title VI! of the Civil Rights Act of 1964. This is also an action for Assault and

Battery against Earnest Johnson.

Hl. PARTIES
1, Plaintiff Jackie Dawn Lutz is a citizen and resident of the United States and a resident of the City off
Monroe, Union County, North Carolina.
2. Defendant, Pike Electric, Inc. (Pike) is a North Carolina corporation that was doing business in the City off

Charlotte, Mecklenburg County, North Carolina. Defendant Pike wa

within the meaning of Section 701(b),(g) and (h) of Title VII of the Civil Rights Act of 1964, and at al

INTRODUCTION

relevant times has had more than 15 employees.

Case 3:01-cv-00252-GCM DocuPagmt1 Filed 05/17/01 Page 13 of 50

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Case 3:01-cv-00252-GCM Docurfiént1 Filed 05/17/01 Page 14 of 50

Defendant Donald Anderson was at all relevant times Vice President of the Defendant Pike, and was at al
relevant times an employer and agent of an employer within the meaning of Title VII of the Civil Right

Act of 1964. Defendant Donald Anderson is upon information and belief a resident of Mecklenburg
County, North Carolina.

Dstendant Neal Sanders was at all relevant times Regional Supervisor of the Defendant Pike, and was at
all relevant times an employer and agent of an employer within the meaning of Title VIl of the Civil Fightd
Act of 1964. Defendant Neal Sanders is upon information and belief a resident of Mecklenburg County,
North Carolina. -

Defendant Emest Johnson was at all relevant times Zone Supervisor of the Defendant Pike, and was at al
relevant tines an employer and agent of an employer within the meaning of Title VII of the Civil Rights
Act of 1964. Defendant Ernest Johnson is upon information and belief a resident of Mecklenburg County,
North Carolina.
Defendant Bobby Ellis was at all relevant times Zone Supervisor of the Defendant Pike, and was at all
relevant times an employer and agent of an employer within the meaning of Title VII of the Civil Rights
Act of 1964. Defendant Bobby Ellis is upon information and belief a resident of Mecklenburg County,
North Carolina.

It. JURISDICTIONAL STATEMENT
Plaintiff brings this action pursuant to the common law of the State of North Carolina, Title VII of the Civi
Rights Act of 1964, 42 U. S. C. 20008 et. Seq., and Title 1 of the Civil Rights Act of 1991, 42 U.S.C
1981a.

IV. FACTUAL STATEMENT

Plaintiff Jackie Dawn Lutz was employed by Defendant Pike from March 16, 1998, until April 14, 2000.
Plaintiff at the time of her constructive discharge was a secretary/dispatcher for the Defendant Nei
Sanders.
During the entire tenure of her employment with the Defendant Pike, Plaintiff Lutz was sexually harassed
by various management personnet of the Defendant Pike.
Such harassment included Mike Stillwell saying, “I like your dress and everything in it even better. Bobby,
Ellis was constantly kissing at Plaintiff, even after he was cautioned by supervisor Bo Lankford. Earnest

Johnson popped Plaintiff on the rear end with rolled up papers. Bobby Ellis gave Plaintiff a Pike Golf Shirt,

 

 
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Employment and in Violation of North Carolina Public Policy
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Case 3:01-cv-00252-GCM Docuhi@t#t1 Filed 05/17/01 Page 15 of 50

When Plaintiff wore the golf Shirt Bobby Ellis told Plaintiff, she was suppose to wear the shirt without a
bra. Earnest Johnson coming up from behind and massaging Plaintiff shoulders, and Neil Sanders and
Donald Anderson carried on a conversation about the size of a doctor's fingers and that Plaintiff would
probably. want to know that doctors name. Plaintiff rejected all comments and sexual advances made by
anyone at Pike.

As a result of this hostile work environment Plaintiff could no longer take the pressure and was

constructively discharged from her position. .

More than 180 days prior to filing this action, Plaintiff filed a charge of discrimination with the EEOQ

alleging that she had been discriminated against by all the Defendants, when she was harassed and
constructively discharged.

V. LEGAL CLAIMS

PLAINTIFF'S FIRST CAUSE OF ACTION - - Quid Pro Quo Sexual Harassment and Wrongful Termination of

The Paragraphs enumerated here and above are reincorporated by reference herein.

The public policy of the State of North Carolina includes the prohibition against discriminating against
employees who refuse sexual advances and reject sexual harassment in violations of Title Vil of the cul
Rights Act of 1964.
In allowing and participating in the sexual harassment and constructively discharging the Plaintiff the
Defendants violated the public policy of the State of North Carolina.

As a result of Defendants’ acts, Plaintiff has lost wages and benefits, and suffered emotional distress
Plaintiff is entitled to receive compensatory damages in an amount in excess of $10,000.00

Defendants’ actions were done maliciously, willfully or wantonly, or in a manner that demonstrates a
reckless disregard for the Plaintiff’s rights. As a result of Defendants’ conduct, Plaintiff is entitled to
recover punitive damages in an amount in excess of $1 0,000.00

PLAINTIFF'S SECOND CAUSE OF ACTION - - Violation of Title Vil

Since at least the fall of 1999, the Defendants have engaged in unlawful employment practices at the
Charlotte office of Pike Electric, Inc., in violation of Section 703 and 704(a) of the Title Vil of the Civi

Rights Act of 1964, 42 U.S.C. 2000e-2 and 3{a) et. seq.

 

 
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Case 3:01-cv-00252-GCM Docltiffeht1 Filed 05/17/01 Page 16 of 50

Plaintiff has satisfied the jurisdictional prerequisites to an action under Title VII by filing a charge of
discrimination against Defendants within 180 days of her termination. Plaintiff has received a tight to sue
letter from the EEOC.

Defendants sexually harassed Plaintiff to the extent that it created a work environment so severe and
hostile that’ she was constructively discharged. Defendants’ acts constitute a violation of Title VIl’s
prohibition against sex discrimination, including sexual harassment. Defendants have violated Section

704(a) of Title VII, 42 U. S. C, 2000e-3{a).

As a proximate result of Defendants’ wrongful conduct Plaintiff suffered loss of wages and benefits|

emotional distress, humiliation, loss of reputation and other damages in an amount in excess of
$10,000.00.

Defendants’ actions were done maliciously, willfully or wantonly, or in a manner that demonstrates a
reckless disregard for the Plaintiff's rights. As a result of Defendant's conduct, Plaintiff is entitled to
recover punitive damages in an amount in excess of $10,000.00.

PLAINTIFF’S THIRD CAUSE OF ACTION - - Assault and Battery

Earnest Johnson hit Plaintiff on the rear end with a rolled up paper after approaching Plaintiff from behind.
Plaintiff rejected this advance and made it clear to Earnest Johnson that this behavior was not acceptable.
Earnest Johnson touched the Plaintiff without her consent.

Plaintiff was kept constantly aware of and in apprehension of Earnest Johnson.

Plaintiff was in fear of a subsequent attack on her person.

Earnest Johnson again approached the Plaintiff from behind and began messaging Plaintiff's shoulders.
Plaintiff pulled away and again made it clear to Earnest Johnson that this touching was not with hen
consent and was unwanted.

As a direct and proximate result of Earnest Johnson's placing Plaintiff in apprehension of being touched
and Plaintiff being offensively touched, Plaintiff lost wages and benefits, suffered emotional distress,
humiliation, loss of reputation and other compensatory damages in an amount in excess of Ten Thousand
Dollars ($10,000.00).
Earnest Johnson’s actions were done maliciously, willfully or wantonly or in a manner that demonstrates
a reckless disregard for the Plaintiff's rights. As a result of Defendants’ conduct, Plaintiff is entitled to

recover punitive damages in an amount in excess of Ten Thousand Dollars ($10,000.00).

 

 
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IV. JURY TRIAL DEMANDED

33. Plaintiff hereby demands a trial by jury.

PRAYER FOR RELIEF
WHEREFORE, Praintit rays this Honorable Court enter judgment against Defendants as follows:
1. Enter a judgment against the Defendants finding that they have sexually harassed and constructively
discharged Plaintiff;
2. Declare that Defendants have violated Plaintiff's rights under Title VII of the Civil Rights Act of 1964;
3. Award Plaintiff compensatory damages in excess of $10,000.00, including demades for financial loss

suffered and for émotional pain and suffering; humiliation, anxiety, loss of reputation, and harm ta

Plaintiff's economic opportunities;

4. Award Plaintiff punitive damages for Defendants’ willful and malicious conduct;
5. Award Plaintiff costs and reasonable attorney fees to Plaintiff's attorney;

6. Award Plaintiff prejudgment interest on the above;

7. Grant such other relief to Plaintiff as this Court deems equitable.

Respectfully submitted,

Mall, 7

Michael A. Johnson, »/

153 Church Street, NE
Concord, North Carolina 28025
Telephone: (704) 788-6721
Facsimile: (704) 795-9826

Case 3:01-cv-00252-GCM DocufasefAt 1 Filed 05/17/01 Page 17 of 50

 

 
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VERIFICATION

STATE OF NORTH CAROLINA
CABARRUS COUNTY

Jackie Dawn Lutz,. being duly sworn deposes and says:
That the contents of the foregoing Complaint are true to her own knowledge, except as to matters stated upon
information and belief, and as to those matters (s)he believes them to be true.

  

Sworn to and subscribed before me, this =
27" day of March, 2001. ~

    

Notary Public

My Commission Expires: August 4, 2003

 

 

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Case 3:01-cv-00252-GCM Docu@9eAt 1 Filed 05/17/01 Page 18 of 50

 

 
 

STATE OF NORTH CAROLINA File No. 01 Cvs | 1CV,0060i

 

 

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cup) ae RA O District [¢] Superior Court Division
CIT TT

Plaintiff's Name: JACKTE DAWN LUTZ
cy

__ UNION _ Gounty: Cora OFS

 

 

Address: CIO MICHAEL JOHNSON, 153 CHURCH STREET, NORTH

 

 

 

 

 

 

 

City, State & Zip: CONCORD, NORTH CAROLINA 28025

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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VERSUS C) Alias and Pluries Summons

Defendant The summons originally issued against you was

PIKE ELECTRIC, INC., AND DONALD ANDERSON, returned not served.

NEAL SANDERS, ERNEST JOHNSON AND BOBBY Date Last Summons Issued * Disregard this section unless

the block is checked

ELLIS

TO: Name & Address of First Defendant TO: Name & Address of Second Defendant

DONALD ANDERSON Neal Sanders

4150 PEBBLE STREET 4150 PEBBLE STREET

 

 

A Civil Action Has Been Commenced Against You!

You are notified to appear and answer the complaint of the plaintiff as follows:

1. Serve a copy of your written answer to the complaint upon the plaintiff or his attorney within thirty (30) days after
you have been served. You may serve your answer by delivering a copy, or by mailing it, to the plaintiff at the plaintiff's
last known address, and

2. File the original of the written answer with the Clerk of Superior Court of the county named above.

If you fail to answer the complaint, the plaintiff will apply to the court for the relief demanded in the complaint.

 

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Name and Address of Plaintiff's Atagney (If none, Address of Plaintiff Date Issued Time Iysued

Michael A. Johnson, Ir | ° 3-4 -O| BAM C) PM
MICHAEL A. JOHNSON, JR., P.A. —
rm MA

153 Church Street, North
Concord, NC 28025
‘Deputy age] 4st CSC flerk ofaperior Court
} | MS - " : ve me a7 ‘4 oe,

(704) 788-6721

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0 ENDORSEMENT Date of Endorsement
. Ga Aly}
This summons was originally issued on the date indicated above and °
was returned not served. At the request of the plaintiff, the time | Sra7e

within which the summons must be served is extended thirty (30)
days.

 

 

 
   
 

 

 

 

 
   

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Deputy CSC CAssistant CSC [Clerk of Superior Court

 

 

 

 

 

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Michael A. Johnson, Jr., P.A.
153 Church Street, NE
Concord, North Carolina 28025
Telephone: (704) 788-6721 '
Facsimile: (704) 795-9826 UNIO: :

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Jackie Dawn Lutz OU etnies we

THE GENERAL COURT OF JUSTICE

SUPERIOR COURT DIVISION

UNION COUNTY, NORTH CAROLINA

JACKIE DAWN LUTZ,

Plaintiff,

Vs.

PIKE ELECTRIC. INC.. DONALD ANDERSON. NEAL SANDERS.

ERNEST JOHNSON, BOBBY ELLIS,

Nefendant

 

01 CvS

COMPLAINT

(Jury Trial Demanded)

 

 

This is an action for sexual harassment and constructive discharge of Plaintiff Jackie Dawn Lutz by Defendants
Donald Anderson, Neal Sanders, Earnest Johnson, Bobby Ellis and Pike Electric, lne., and for violation and for

violation of Plaintiff’s rights under Title Vil of the Civil Rights Act of 1964. This is also an action for Assault and

Battery against Earnest Johnson.

tl. PARTIES
1, Plaintiff Jackie Dawn Lutz is a citizen and resident of the United States and a resident of the City of
Monroe, Union County, North Carolina. ~ ..
2. Defendant, Pike Electric, Inc. (Pike) is a North Carolina corporation that was “doing business in the City of

Charlotte, Mecklenburg County, North Carolina. Defendant Pike was at all relevant times an employe

within the meaning of Section 701{b},(g) and (h} of Titla VU of the Civil Rights Act of 1964, and at alf

INTRODUCTION

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relevant times has had more than 15 employees.

Case 3:01-cv-00252-GCM Document1 Filed 05/17/01 Page 20 of 50

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Case 3:01-cv-00252-GCM Document1 Filed 05/17/01 Page 21 of 50

 

Defendant Donald Anderson was at all relevant times Vice President of the Defendant Pike, and was at al
relevant times an employer and agent of an employer within the meaning of Title Vil of the Civil mend
Act of 1964. Defendant Donald Anderson is upon information and belief a resident of Meckienburg
County, North Carolina.
Defendant Neal Sanders was at all relevant times Regional Supervisor of the Defendant Pike, and was at
all relevant times an employer and agent of an employer within the meaning of Title Vil of the Civil Rights
Act of 1964. Defendant Neal Sanders is upon information and belief a resident of Mecklenburg County
North Carolina.

Defendant Ernest Johnson was at all relevant times Zone Supervisor of the Defendant Pike, and was at ail
relevant times an employer and agent of an employer within the meaning of Title VIl of the Civil Rights
Act of 1964. Defendant Ernest Johnson is upon information and belief a resident of Mecklenburg County
North Carolina.

Defendant Bobby Ellis was at all relevant times Zone Supervisor of the Defendant Pike, and was at all
relevant times an employer and agent of an employer within the meaning of Title Vil of the Civil Rights
Act of 1964. Defendant Bobby Ellis is upon information and belief a resident of Mecklenburg County
North Carolina.

Ill. JURISDICTIONAL STATEMENT

Plaintiff brings this action pursuant to the common law of the State of North Carolina, Title Vil of the Civil
Rights Act of 1964, 42 U. S. C. 2000e et. Seq., and Title | of the Civil Rights Act of 1991, 42 U.S. Cl

1981a.

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IV. FACTUAL STATEMENT

Plaintiff Jackie Dawn Lutz was employed by Defendant Pike from March 16, 1998, until April 14, 2000.
Plaintiff at the time of her constructive discharge was a secretary/dispatcher for the Defendant Nei
Sanders.

During the entire tenure of her employment with the Defendant Pike, Plaintiff_Lutz was sexually harassed

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by various management personnel of the Defendant Pike.
Such harassment included Mike Stillwell saying, “I like your dress and everything in it even better. Bobby,
Ellis was constantly kissing at Plaintiff, even after he was cautioned by supervisor Bo Lankford. Earnest

Johnson popped Plaintiff on the rear end with rolled up papers. Bobby Ellis gave Plaintiff a Pike Golf Shirt

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Employment and in Violation of North Carolina Public Policy
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Case 3:01-cv-00252-GCM Documenti1 Filed 05/17/01 Page 22 of 50

When Plaintiff wore the golf Shirt Bobby Ellis told Plaintiff, she was suppose to wear the shirt without 4
bra. Earnest Johnson coming up from behind and massaging Plaintiff shoulders, and Neil Sanders and
Denald Anderson carried on a conversation about the size of a doctor’s fingers and that Plaintiff would
probably want to know that doctors name. Plaintiff rejected all comments and sexual advances made by
anyone at Pike.

As a result of this hostile work environment Plaintiff could no longer take the pressure and was
constructively discharged from her position.
More than 180 days prior to filing this action, Plaintiff filed a charge of discrimination with the EEOC
alleging that she had been discriminated against by all the Defendants, when she was harassed and
constructively discharged.

V. LEGAL CLAIMS

PLAINTIFF'S FIRST CAUSE OF ACTION - - Quid Pro Quo Sexual Harassment and Wrongful Termination of

The Paragraphs enumerated here and above are reincorporated by reference herein.

The public policy of the State of North Carolina includes the prohibition against discriminating against
employees who refuse sexual advances and reject sexual harassment in violations of Title Vil of the Civi
Rights Act of 1964.

In allowing and participating in the sexual harassment and constructively discharging the Plaintiff the
Defendants violated the public policy of the State of North Carolina.

As a result of Defendants’ acts, Plaintiff has lost wages and benefits, and suffered emotional distress

Plaintiff is entitled to receive compensatory damages in an amount in excess of $10,000.00

Defendants’ actions were done maliciously, willfully or wantonly, or in a manner that demonstrates a
reckless disregard for the Plaintiff's rights. As a result of Defendants’ conduct, Plaintiff is entitled to
recover punitive damages in an amount in excess of $10,000.00

PLAINTIFF’S SECOND CAUSE OF ACTION - - Violation of Title Vil a ;

a“

Since at least the fall of 1999, the Defendants have engaged in unlawful employment practices at the
Charlotte office of Pike Electric, Inc., in violation of Section 703 and 704(a) of the Title Vil of the Civil

Rights Act of 1964, 42 U.S.C. 20006-2 and 3(a) et. seq.

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Case 3:01-cv-00252-GCM Documenti1 Filed 05/17/01 Page 23 of 50

Plaintiff has satisfied the jurisdictional prerequisites to an action under Title VII by filing a charge of
discrimination against Defendants within 180 days of her termination. Plaintiff has received a right to sud
letter from the EEQC.

Defendants sexually harassed Plaintiff to the extent that it created a work environment so severe and
hostile that she was constructively discharged. Defendants’ acts constitute a violation of Title Vii's
prohibition against sex discrimination, including sexual harassment. Defendants have violated Section
704(a) of Title VIl, 42 U. S. C. 2000e-3(a).

As @ proximate result of Defendants’ wrongful conduct Plaintiff suffered loss of wages and benefits
emotional distress, humiliation, loss of reputation and other damages in an amount in excess of
$10,000.00.

Defendants’ actions were done maliciously, willfully or wantonly, or in a manner that demonstrates 4
reckless disregard for the Plaintiff’s rights. As a result of Defendant's conduct, Plaintiff is entitled td
recover punitive damages in an amount in excess of $10,000.00.

PLAINTIFF’S THIRD CAUSE OF ACTION - - Assault and Battery

Earnest Johnson hit Plaintiff on the rear end with a rolled up paper after approaching Plaintiff from behind.
Plaintiff rejected this advance and made it clear to Earnest Johnson that this behavior was not acceptable,
Earnest Johnson touched the Plaintiff without her consent.

Plaintiff was kept constantly aware of and in apprehension of Earnest Johnson.

Plaintiff was in fear of a subsequent attack on her person.

Earnest Johnson again approached the Plaintiff from behind and began messaging Plaintiff's shoulders.

Plaintiff pulled away and again made it clear to Earnest Johnson that this touching was not with her

consent and was unwanted. -

As a direct and proximate result of Earnest Johnson's placing Plaintiff in apprehension of being touched
and Plaintiff being offensively touched, Plaintiff lost wages and benefits, suffered emotional distress,
humiliation, loss of reputation and other compensatory damages in an amount‘in excess of Ten Thousand
Dollars ($10,000.00). :

Earnest Johnson's actions were done maliciously, willfully or wantonly or in a manner that demonstrated

a reckless disregard for the Plaintiff's rights. As a result of Defendants’ conduct, Plaintiff is entitled to

recover punitive damages in an amount in excess of Ten Thousand Dollars ($10,000.00).

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33. Plaintiff hereby demands a trial by jury.

WHEREFORE, Plaintiff prays this Honorable Court enter judgment against Defendants as follows:

1.

IV. JURY TRIAL DEMANDED

PRAYER FOR RELIEF
Enter a judgment against the Defendants finding that they have sexually harassed and constructively
discharged Plaintiff;
Declare that Defendants have violated Plaintiff's rights under Title VII of the Civil Rights Act of 1964;
Award Plaintiff compensatory damages in excess of $10,000.00, including damages for financial loss
suffered and for emotional pain and suffering; humiliation, anxiety, loss of reputation, and harm td
Plaintiff's economic opportunities;
Award Plaintiff punitive damages for Defendants’ willful and malicious conduct;
Award Plaintiff costs and reasonable attorney fees to Plaintiff's attorney;
Award Plaintiff prejudgment interest on the above;

Grant such other relief to Plaintiff as this Court deems equitable.

Respectfully submitted,

MLW fe fo

Michael A. Johnson, l/

mL 153 Church Street, NE

- Concord, North Carolina 28025
Telephone: (704) 788-6721
Facsimile: (704) 795-9826

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VERIFICATION

STATE OF NORTH CAROLINA
CABARRUS COUNTY

Jackie Dawn Lutz, being duly sworn deposes and says:

That the contents of the foregoing Complaint are true to her own knowledge, except as to matters stated upon
information and belief, and as to those matters (s)he believes them to be true.

Oates Bowery

Sworn to and subscribed before me, this
27" day of March, 2001.

Notary Public

My Commission Expires: August 4, 2003

 

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Case 3:01-cv-00252-GCM Document1 Filed 05/17/01 Page 25 of 50

 

 

 
 

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STATE OF NORTH CAROLIN

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UNION Coun In the General Court of Justice
LIMIAM fo O District [#] Superior Court Division

 

Plaintiffs Name: JACKIE DAWN LUTZ RY

 

 

 

Address: C/O MICHAEL JOHNSON, 153 CHURCH STREET, NORTH

 

 

 

 

City, State & Zip: CONCORD, NORTH CAROLINA 28025

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

x . :
VERSUS CO) Alias and Pluries Summons

Defendant The summons originally issued against you was
PIKE ELECTRIC, INC., AND DONALD ANDERSON, returned not served.

NEAL SANDERS, ERNEST J OHNSON AND BOBBY Date Last Summons Issued * Disregard this section unless
ELLIS the block is checked

TO: Name & Address of First Defendant TO: Name & Address of Second Defendant

ERNEST JOHNSON Bobby Ellis

 

 

A Civil Action Has Been Commenced Against You!
You are notified to appear and answer the complaint of the plaintiff as follows:

1. Serve a copy of your written answer to the complaint upon the plaintiff or his attorney within thirty (30) days after

you have been served. You may serve your answer by delivering a copy, or by mailing it, to the plaintiff at the plaintiff's
last known address, and

2. File the original of the written answer with the Clerk of Superior Court of the county named above.

If you fail to answer the complaint, the plaintiff will apply to the court for the relief demanded in the complaint.

 

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Name and Address of Plaintiff's Attorney (If none, Address of Plaintiff) Date Issued Time Issued

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Michael A. Johnson, Jr. - 440 0 | % WOK, Ol pm
MICHAEL A. JOHNSON, JR., P.A. sake =
153 Church Street, North | Bliynt hh) QD
Concord, NC 28025

 

 

 

 

 

 

 

 

(704) 788-6721 ea est! besicbit SSE crcterk of Supervef Court
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This summons was originally issued on the date indicated above and
was returned not served. At the request of the plaintiff, the time | Signature
within which the summons must be served is extended thirty (30)

days. , oe

 

 

 

C7Deputy CSC CAssistant CSC Clerk of Superior Court .

 

 

 

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Michael A. Johnson, Jr., P.A.
153 Church Street, NE oo mon noon
Concord, North Carolina 28025 wre bass

Telephone: (704) 788-6721 UMC: a

Facsimile: (704) 795-9826 Mees 8.0,
rd

Jackie Dawn Lutz Cy ee

THE GENERAL COURT OF JUSTICE

SUPERIOR COURT DIVISION

UNION COUNTY, NORTH CAROLINA

JACKIE DAWN LUTZ, 01 CvS
Plaintiff,
vs. COMPLAINT

PIKE ELECTRIC. INC.. DONALD ANDERSON. NEAL SANDERS.) (Jury Trial Demanded)

ERNEST JOHNSON, BOBBY ELLIS,

 

Defendant.

 

I. INTRODUCTION
This is an action for sexual harassment and constructive discharge of Plaintiff Jackie Dawn Lutz by Defendants

Donald Anderson, Neal Sanders, Earnest Johnson, Bobby Ellis and Pike Electric, lac., and for violation and fon

ee

violation of Plaintiff's rights under Title Vil of the Civil Rights Act of 1964. This is also an action for Assault and

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U. PARTIES
1. Plaintiff Jackie Dawn Lutz is a citizen and resident of the United States and a resident of the City of
Monroe, Union County, North Carolina. oS
2. Defendant, Pike Electric, Inc. (Pike) is a North Carolina corporation that was ‘doing business in the City off
Charlotte, Mecklenburg County, North Carolina. Defendant Pike was at all relevant times an employer

within the meaning of Section 701(b),(g) and (h) of Title Vii of the Civil Rights Act of 1964, and at all

relevant times has had more than 15 employees.

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Defendant Donald Anderson was at all relevant times Vice President of the Defendant Pike, and was at al
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County, North Carolina.
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Act of 1964. Defendant Neal Sanders is upon information and belief a resident of Mecklenburg County,
North Carolina.
Defendant Ernest Johnson was at all relevant times Zone Supervisor of the Dafendant Pike, and was at o
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Act of 1964. Defendant Ernest Johnson is upon information and belief a resident of Mecklenburg County

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Defendant Bobby Elis was at all relevant times Zone Supervisor of the Defendant Pike, and was at al
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Act of 1964. Defendant Bobby Ellis is upon information and belief a resident of Mecklenburg County,
North Carolina.

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Plaintiff brings this action pursuant to the common law of the State of North Carolina, Title Vil of the Civif
Rights Act of 1964, 42 U. S. C. 2000¢ et. Seq., and Title | of the Civil Rights Act of 1991, 42 U.S.C

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~ 1V. FACTUAL STATEMENT

Plaintiff Jackie Dawn Lutz was employed by Defendant Pike fram March 16, 1998, until April 14, 2000.
Plaintiff at the time of her constructive discharge was a secretary/dispatcher for the Defendant Nei
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During the entire tenure of her employment with the Defendant Pike, Plaintiff Lutz was sexuaily harassed
by various management personnel of the Defendant Pike.

Such harassment included Mike Stillwell saying, “I like your dress and everything in it even better. Bobby

Ellis was constantly kissing at Plaintiff, even after he was cautioned by supervisor Bo Lankford. Earnest

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Page 2
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Employment and in Violation of North Carolina Public Policy

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Case 3:01-cv-00252-GCM Document1 Filed 05/17/01 Page 29 of 50

When Plaintiff wore the golf Shirt Bobby Ellis told Plaintiff, she was suppose to wear the shirt without {
bra. Earnest Johnson coming up from behind and massaging Plaintiff shoulders, and Neil Sanders and
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probably want to know that doctors name. Plaintiff rejected all comments and sexual advances made by
anyone at Pike. ~
As a result of this hostile work environment Plaintiff could no longer take the pressure and vs
constructively discharged from her position.
More than 180 days prior to filing this action, Plaintiff filed a charge of discrimination with the EEOC
alleging that she had been discriminated against by all the Defendants, when she was harassed and
constructively discharged.

V. LEGAL CLAIMS

PLAINTIFF'S FIRST CAUSE OF ACTION - - Quid Pro Quo Sexual Harassment and Wrongful Termination of

The Paragraphs enumerated here and above are reincorporated by reference herein.
The public policy of the State of North Carolina includes the Prohibition against discriminating against
employees who refuse sexual advances and reject sexual harassment in violations of Title VI! of the Civi
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In allowing and participating in the sexual harassment and constructively discharging the Plaintiff "
Defendants violated the public policy of the State of North Carolina.

As a resuit of Defendants’ acts, Plaintiff has lost wages and benefits, and’ suffered emotional distress

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Plaintiff is entitled to receive compensatory damages in an amount in excess of $1 0,000.00

Defendants’ actions were done maliciously, willfully or wantonly, or in a manner that demonstrates 4
reckless disregard for the Plaintiff's rights. As a result of Defendants‘ conduct, Plaintiff is entitled to
recover punitive damages in an amount in excess of $10,000.00

PLAINTIFF'S SECOND CAUSE OF ACTION - - Violation of Title VII oT
Since at least the fall of 1899, the Defendants have engaged in unlawful employment -practices at th

Charlotte office of Pike Electric, Inc., in violation of Section 703 and 704(a) of the Title Vil of the Civi

Rights Act of 1964, 42 U.S.C. 2000e-2 and 3{a) et. seq.

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Plaintiff has satisfied the jurisdictional Prerequisites to an action under Title Vit by filing a charge of
discrimination against Defendants within 180 days of her termination. Plaintiff has received a right to ns
letter from the EEOC.
Defendants sexually harassed Plaintiff to the extent that it created a work environment so severe and
hostile that she was constructively discharged. Defendants’ acts constitute a violation of Title ms
Prohibition against sex discrimination, including sexual harassment. Defendants have violated Section
704(a) of Title Vil, 42 U. S. C. 2000e-3(a).
As a proximate result of Defendants’ wrongful conduct Plaintiff suffered loss of wages and benefits,
emotional distress, humiliation, loss of reputation and other damages in an amount in excess of

$10,000.00.

 

Defendants’ actions were done maliciously, willfully or wantonly, or in a manner that demonstrates
reckless disregard for the Plaintiff's rights. As a result of Defendant's conduct, Plaintiff is entitled ta
recover punitive damages in an amount in excess of $10,000.00.

PLAINTIFF'S THIRD CAUSE OF ACTION - - Assault and Battery

Earnest Johnson hit Plaintiff on the rear end with a rolled up paper after approaching Plaintiff fram behind.
Plaintiff rejected this advance and made it clear to Earnest Johnson that this behavior was not acceptable.
Earnest Johnson touched the Plaintiff without her consent.

Plaintiff was kept constantly aware of and in apprehension of Earnest Johnson.
Plaintiff was in fear of a subsequent attack on her person.

Earnest Johnson again approached the Plaintiff from behind and began messaging Plaintiff's shoulders.

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Praintift pulled away and again made it clear to Earnest Johnson that this touching was not with hey
corigent and was unwanted. ”
As a direct and proximate result of Earnest Johnson‘s placing Plaintiff in apprehension of being touched;
and Plaintiff being offensively touched, Plaintiff lost wages and benefits, suffered emotional distress,
humiliation, loss of reputation and other compensatory damages in an amount in excess of Ten Thousand
Dollars ($10,000.00).
Earnest Johnson’‘s actions were done maliciously, willfully or wantonly or in a manner that demonstrated

a reckless disregard for the Plaintiff's rights. As a result of Defendants’ conduct, Plaintiff is entitled ta

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33.

WHEREFORE, Plaintiff prays this Honorable Court enter judgment against Defendants as follows:

1.

IV. JURY TRIAL DEMANDED

Plaintiff haraby demands a trial by jury.

PRAYER FOR RELIEF

 

Enter a judgment against the Defendants finding that they have sexually harassed and constructively
discharged Plaintiff;

Declare that Defendants have violated Plaintiff's rights under Title Vil of the Civil Rights Act of 1964;

 

Award Plaintiff compensatory damages in excess of $10,000.00, including damages for financial oo
suffered and for emotional pain and suffering; humiliation, anxiety, loss of raputation, and harm ta
Plaintiff's economic opportunities;

Award Plaintiff punitive damages for Defendants’ willful and malicious conduct;
Award Plaintiff costs and reasonable attorney fees to Plaintiff's attorney;
Award Plaintiff prejudgment interest on the above;

Grant such other relief to Plaintiff as this Court deems equitable.

Respectfully submitted,

Milli f

~ Michael A. Johnson, U/
= 153 Church Street, NE
- Concord, North Carolina 28025
_ Telephone: (704) 788-6721
Facsimile: (704) 795-9826

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VERIFICATION

STATE OF NORTH CAROLINA
CABARRUS COUNTY

Jackie Dawn Lutz, being duly sworn deposes and says:

That the contents of the foregoing Complaint are true to her own knowledge, except as to matters stated upor

information and belief, and as to those matters (s)he believes them to be true.

Jagkie Dawn Lutz

Swern to and subscribed before me, this
27" day of March, 2001.

Notary Public

My Commission Expires: August 4, 2003

 

 

 

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Page 6
Case 3:01-cv-00252-GCM Document1 Filed 05/17/01 Page 32 of 50

 

 

 
 

STATE OF NORTH CAROLINA

File No. 01 Cvs

 

 

 

 

 

 

‘aC
mi oe Ww VJ UO
UF P Film No, 601
UNION County” 2. .., 3:02 In the General Court of Justice
O District [e] Superior Court Division
UNO CoO
Plaintiff's Name: JACKIE DAWN LUTZ
——

Address: CIO MICHAEL JOHNSON, 153 CHURCH STREET, NORTH

 

City, State & Zip: CONCORD, NORTH CAROLINA 28025

 

 

 

 

 

 

 

 

 

 

VERSUS

 

Defendant
PIKE ELECTRIC, INC., AND DONALD ANDERSON,

 

* (J Alias and Pluries Summons

The summons originally issued against you was
returned not served.

 

NEAL SANDERS, ERNEST JOHNSON AND BOBBY
ELLIS

Date Last Sunimons Issued * Disregard this section unless

the block is checked

 

 

TO: Name & Address of First Defendant
ERNEST JOHNSON
4150 PEBBLE STREET

CHARLOTTE, NC 28201 704

TO: Name & Address of Second Defendant
Bobby Ellis

4150 PEBBLE STREET
CHARLOTTE, NC 28201

 

 

A Civil Action Has Been Commenced Against You!

You are notified to appear and answer the complaint of the plaintiff as follows:

|. Serve a copy of your written answer to the complaint upon the plaintiff or his attorney within thirty (30) days after
you have been served. You may serve your answer by delivering a copy, or by mailing it, to the plaintiff at the plaintiff's

last known address, and

2. File the original of the written answer with the Clerk of Superior Court of the county named above.

If you fail to answer the complaint, the plaintiff will apply to the

court for the relief demanded in the complaint.

 

Name and Address of Plaintiff's Attarney (If none, Address of Plaintiff)

fn

Michael A. Johnson, ik

 

 

MICHAEL A. JOHNSON, JR., P.A.
153 Church Street, North ©
Concord, NC 28025

(704) 788-6721

Date Issued - Time AO

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BK o ( pf: Bam Cp
Signat

 
    

P) Deputy CSE (Xa ssistant CSC. a Clerk of ojaupertb oun

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(1 ENDORSEMENT |

Date of Endorsement a + ji i Time ested
bd ed]:

11 AM (1PM

 

 

This summons was originally issued on the date indicated above and
was returned not served, At the request of the plaintiff, the time
within which the summons must be served i is extended thirty (30)

Signature

 

days.

 

L)Deputy CSC CTAssistant CSC (Clerk of Superior Court

 

 

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Michael A. Johnson, Jr., P.A.
153 Church Street, NE
Concord, North Carolina 28025
Telephone: (704) 788-6721
Facsimile: (704) 795-9826

Jackie Dawn Lutz

JACKIE DAWN LUTZ,
Plaintiff,

vs.

UNIO’. 886,

THE GENERAL COURT OF JUSTICE

SUPERIOR COURT DIVISION

UNION COUNTY, NORTH CAROLINA

01 CvS

COMPLAINT

PIKE ELECTRIC. INC.. DONALD ANDERSON. NEAL SANDERS.| (Jury Trial Demanded)

ERNEST JOHNSON, BOBBY ELLIS,

Defendant

 

 

 

 

This is an action for sexual harassment and constructive discharge of Plaintiff Jackie Dawn Lutz by Defendants

Donald Anderson, Neal Sanders, Earnest Johnson, Bobby Ellis and Pike Electric, Inc., and for violation and for

I. INTRODUCTION

violation of Plaintiff's rights under Title Vil of the Civil Rights Act of 1964. This is“also an action for Assault and

Battery against Earnest Johnson.

I. PARTIES
1. Plaintiff Jackie Dawn Lutz is a citizen and resident of the United States and a resident of the City of
Monroe, Union County, North Carolina. - ;
2. Defendant, Pike Electric, Inc. (Pike) is a North Carolina corporation that was’ doing ‘business in the City of

Charlotte, Mecklenburg County, North Carolina. Defendant Pike was at all relevant times an employed

within the meaning of Section 701(b),(g) and (h) of Title Vil of the Civil Rights Act of 1964, and at alf

relevant times has had more than 15 employees.

Page 1

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1 3. Defendant Donald Anderson was at all relevant times Vice President of the Defendant Pike, and was at al
2 relevant times an employer and agent of an employer within the meaning of Title Vil of the Civil Right
3 Act of 1964. Defendant Donald Anderson is upon information and belief a resident of Mecklenburg
4 County, North Carolina.

5 4, Defendant Neal Sanders was at all relevant times Regional Supervisor of the Defendant Pike, and was at

6 alt ralavant times an employer and agent of an employer within the meaning of Title VII of the Civil Rights

7 Act of 1964. Defendant Neal Sanders is upon information and belief a resident of Mecklenburg County;

8 North Carolina.

9 5. Defendant Ernest Johnson was at ail relevant times Zone Supervisor of the Defendant Pike, and was at al
10 relevant times an employer and agent of an employer within the meaning of Title VII of the Civil Right
14 Act of 1964. Defandant Ernest Johnson is upon information and belief a residant of Mecklenburg County,
12 North Carolina.

13 6. Defendant Bobby Ellis was at all relevant times Zone Supervisor of the Defendant Pike, and was at al
14 relevant times an employer and agent of an employer within the meaning of Title Vil of the Civil Right
18 Act of 1964. Defendant Bobby Ellis is upon information and belief a resident of Mecklenburg County,
16 North Carolina.
17 . it. JURISDICTIONAL STATEMENT
18 7. Plaintiff brings this action pursuant to the common law of the State of North Carolina, Title Vil of the Civi
19 Rights Act of 1964, 42 U. S. C. 2000e at. Seq., and Title | of the Civil Rights Act of 1991, 42 U.S.C
20 1981a. |
21 ~ IV. FACTUAL STATEMENT "
22 8. Plaintif Jackie Dawn Lutz was employed by Defendant Pike from March 16, 1998, until April 14, 2000.
23 9. Plaintiff at the time of her constructive discharge was a secretary/dispatcher for the Defendant Nei
24 Sanders.
25 10. During the entire tenure of her employment with the Defendant Pike, Plaintiff Lutz was sexually harassed
26 by various management personnel of the Defendant Pike.
27 11. Such harassment included Mike Stillwell saying, “I like your dress and everything in it even better. Bobby
28 Ellis was constantly kissing at Plaintiff, even after he was cautioned by supervisor Bo Lankford. Earnest
29 Johnson popped Plaintiff on the rear end with rolled up papers. Bobby Ellis gave Plaintiff a Pike Golf Shirt
Page 2
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Employment and in Violation of North Carolina Public Policy

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19.

When Plaintiff wore the golf Shirt Bobby Ellis tald Plaintiff, she was suppose to wear the shirt without 4
bra. Earnest Johnson coming up from behind and massaging Plaintiff shoulders, and Neil Sanders and
Donald Anderson carried on @ conversation about the size of a doctor's fingers and that Plaintiff would
probably want to know that doctors name. Plaintiff rejected all comments and sexual advances made by
anyone at Pike. -
As a result of this hostile work environment Plaintiff could no longer take the pressure and wad
constructively discharged from her position.
More than 180 days prior to filing this action, Plaintiff filed a charge of discrimination with the EEOC
alleging that she had been discriminated against by all the Defendants, when she was harassed and
constructively discharged.
V. LEGAL CLAIMS

PLAINTIFF’S FIRST CAUSE OF ACTION - - Quid Pro Quo Sexual Harassment and Wrongful Termination of

The Paragraphs enumerated here and above are reincorporated by reference herein.

The public policy of the State of North Carolina includes the prohibition against discriminating against
employees who refuse sexual advances and reject sexual harassment in violations of Title Vil of the Civi
Rights Act of 1964.

In allowing and participating in the sexual harassment and constructively discharging the Plaintiff thd
Defendants violated the public policy of the State of North Carolina.

As a result of Defendants’ acts, Plaintiff has lost wages and benefits, and suffered emotional distress

ae

Plaintiff is entitled to receive compensatory damages in an amount in excess of $10,000.00

 

Defendants’ actions were done maliciously, willfully or wantonly, or in a manner that demonstrates 1
reckless disregard for the Plaintiff‘s rights. As a result of Defendants‘ conduct, Plaintiff is entitled td
recover punitive damages in an amount in excess of $10,000.00

PLAINTIFF'S SECOND CAUSE OF ACTION - - Violation of Title VII a /
Since at least the fall of 1999, the Defendants have engaged in unlawful employment practices at th

Charlotte office of Pike Electric, Inc., in violation of Section 703 and 704(a) of the Title Vil of the Civi

Rights Act of 1964, 42 U.S.C. 2000e-2 and 3(a) et. seq.

Page 3
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Plaintiff has satisfied the jurisdictional prerequisites to an action under Title Vil by filing a charge of
discrimination against Defendants within 180 days of her termination. Plaintiff has received a right to of
letter from the EEOC.
Defendants sexually harassed Plaintiff to the extent that it created a work environment so severe and
hostile that she was constructively discharged. Defendants’ acts constitute @ violation of Title VII‘
Prohibition against sex discrimination, including sexual harassment. Defendants have violated Section
704(a) of Title Vil, 42 U. S. C. 2000e-3{(a).

As & proximate result of Defendants’ wrongful conduct Plaintiff suffered loss of wages and benefits
emotional distress, humiliation, loss of reputation and other damages in an amount in excess of
$10,000.00.

Defendants’ actions were done maliciously, willfully or wantonly, or in a manner that demonstrates
reckless disregard for the Plaintiff's rights. As a result of Defendant’s conduct, Plaintiff is entitled to
recover punitive damages in an amount in excess of $10,000.00.

PLAINTIFF'S THIRD CAUSE OF ACTION - - Assault and Battery

Earnest Johnson hit Plaintiff on the rear end with a rolled up paper after approaching Plaintiff from behind.
Plaintiff rejected this advance and made it clear to Earnest Johnson that this behavior was not acceptable,
Earnest Johnson touched the Plaintiff without her consent,

Plaintiff was kept constantly aware of and in apprehension of Earnest Johnson.

Plaintiff was in fear of a subsequent attack on her person.

Earnest Johnson again approached the Plaintiff from behind and began messaging Plaintiffs shoulders.

~

Plaintiff pulled away and again made it clear to Earnest Johnson that this touching was not with her

cofisent and was unwanted.
As a direct and proximate result of Earnest Johnson's placing Plaintiff in apprehension of being touched
and Plaintiff being offensively touched, Plaintiff lost wages and benefits, suffered emotional distress,
humiliation, loss of reputation and other compensatory damages in an amouritin excess of Ten Thousand
Dollars ($10,000.00).

Earnest Johnson‘s actions were done maliciously, willfully or wantonly or in a manner that demonstrates

a reckless disregard for the Plaintiff's rights. As a result of Defendants’ conduct, Plaintiff is entitled td

recover punitive damages in an amount in excess of Tan Thousand Dollars ($10,000.00).

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IV. JURY TRIAL DEMANDED

33. Plaintiff hereby demands a trial by jury.

PRAYER FOR RELIEF

 

WHEREFORE, Plaintiff prays this Honorable Court enter judgment against Defendants as follows:
1. Enter a judgment against the Defendants finding that they have sexually harassed and constructively
discharged Plaintiff;

2. Declare that Defendants have violated Plaintiff's rights under Title Vil of the Civil Rights Act of 1964;

 

3. Award Plaintiff compensatary damages in excess of $10,000.00, including damages for financial led
suffered and for emotional pain and suffering; humiliation, anxiety, loss of reputation, and harm ta

Plaintiff's economic opportunities;

4. Award Plaintiff punitive damages for Defendants’ willful and malicious conduct;
5. Award Plaintiff costs and reasonable attorney fees to Plaintiff's attorney;

6. Award Plaintiff prejudgment interest on the above;

7. Grant such other relief to Plaintiff as this Court deems equitable.

Respectfully submitted,

ML0bfeaf

~ Michael A. Johnson, Jr. (/ UY

mo 153 Church Street, NE

7 Concord, North Carolina 28025
Telephone: (704) 788-6721
Facsimile: (704) 795-9826

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Page 5 ;
Case 3:01-cv-00252-GCM Document1 Filed 05/17/01 Page 38 of 50

 

 

 
VERIFICATION

 

 

2
STATE OF NORTH CAROLINA
3 CABARRUS COUNTY
4 Jackie Dawn Lutz, being duly sworn deposes and says:
5 That the contents of the foregoing Complaint are true to her own knowledga, except as to matters stated upon
information and belief, and as to those matters (s)he believes them to be true. .
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7 Qa Aen (Vows °F id
Jagkie Dawn Lutz -
8 ow
Sworn to and subscribed before me, this
9 || 27" day of March, 2001.
10 ~
11 Notary Public
12 || My Commission Expires: August 4, 2003
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Michael A. Johnson, Jr, PA.
153 Church Street, NE
Concard, North Carolina 28025 ‘i “ ~ wy Tom its
Telephone: (704) 788-6721
Facsimile: (704) 795-9826 me ee,

Jackie Dawn Lutz

THE GENERAL COURT OF JUSTICE
SUPERIOR COURT DIVISION

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‘UNION COUNTY, NORTH CAROLINA” °”

JACKIE DAWN LUTZ, 01 CvS 00601
Plaintiff.
v3. AMENDMENT TO COMPLAINT

PIKE ELECTRIC, INC., DONALD ANDERSON. NEAL SANDERS,

ERNEST JOHNSON, BOBBY ELLIS,

 

—Dofandanta

 

 

 

 

Now, prior to service of raspongive pleadings, comes Jackia Dawn Lutz, Plaintiff in this action, and amends her

complaint as a matter of course, pursuant to North Carolina Rulas of Civil Procedure 15(a) as follows:
1. By adding to the complaint ag Paragraph 34 and subsequent numbered Paragraphs the following: Th

Paragraphs and causes of action as set forth in the amendad complaint attached to and Incorporated

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Raspecttully ML
ov Meck

Michgel A, Johnson, Jr., PAL Us J—

183 Church Street, NE ©

Concord, North Carolina 28026 ;
Telephone: (704) 788-6721
Facsimile: {704) 795-9826

State Bar Number: 12449

harain by reference,

This the 27" day of April, 2001,

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Page 1

 

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CERTIFICATE OF SERVICE

This ia to certify that the undersigned haa this date

Parties to this cause by depositing a copy hereof, postage prepaid, in tha United States Mail. property addressed to aac

party as follows:

hae . Ne ete ge RE be cee

served this document in tha above-captioned action on al

 

 

Pike Electric, ine.

C/O Reginald L. Banner
351 Rivarside Drive
Maunt Airy, NC 27030

Ernest Johnson
4150 Pebble Street
Charlotte, NC 29201

Bobby Ellis
4160 Pebble Streat
Charlotte, NC 28201

Donald Anderson
4160 Pebble Street
Chadotte, NC 28201

Neal Sanders

4160 Pebble Streat
Charlotte, NC 28201

This the 27" day of April, 2001.

   

Michael A. Johnson, JA-?.A.
153 Church Street, NE
Concard, North Carolina 28025
Talaphone: (704) 788-6721

Facsimile: (704) 795-9826
State Bar Number: 12449 »

 

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153 Church Street, NE
2 || Concord, North Caroling 28025
Telephone: (704) 788-6721
3 || Facsimile: (704) 795-9826
4 || Jackie Dawn Lutz
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6 ’ THE GENERAL COURT OF JUSTICE
7 SUPERIOR COURT DIVISION
eff | UMON COUNTY, NORTH CAROLINA, TT Pane
9
10
11 JACKIE DAWN LUTZ, 01 CvS 00601
12 Plaintiff,
13 wa. AMENDED COMPLAINT
14 PIKE ELECTRIC. INC.. DONALD ANDERSON. NEAL SANDERS. (Jury Trial Damanded)
15 || ERNEST JOHNSON, BOBBY ELLIS,
16 Defendant
17
13 L INTRODUCTION
19 This is an action for sexual harassment and constructive discharge of Plaintiff Jackie Dawn Lutz by Defandant
20 Donaid Anderson, Neal Sanders, Earnest Johnson, Bobby Ellis and Pike Electric, Ine., and for violation and for
21 violation of Plaintiff's rights under Title VII of the Civil Rights Act of 1964, This is algo an action for Assault and
22 Battery against Earnest Johnson,
23 N, : PARTIES
24 1. Plaintiff Jackie Dawn Lutz is a citizen and fasident of the Unitad States and a resident of the City of
25 Monroe, Union County, Nerth Carolina.
26 2. Defendant, Pike Electric, ine. (Pike) is a North Carolina corporation that was daing business in the City of
27 Charlotta, Mecklenburg County, North Carolina. Defendant Pike was at all ‘elevam times an employer
28 within tha meaning of Section 7017(6).(g) and (hl of Tite Vil of the Civil Rights Act of 1964, and at al
23 relavarnt times has had mora than 15 employees.
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2 ralavant times an employer and agant of an emplayer within tha maaning of Title Vii of the Civil Right
3 Act of 1964. Oafendant Donald Anderson is upon information and beliaf a resident of Mecklenburg
4 County, Nerth Carolina,

§ 4, Defendant Neal Sanders was at all relevant times Regional Supervisor of the Defendant Pike, and was a
6 all relevant times an employer and agent of an employer within the meaning of Title Vil of the Civil Right
7 Act of 1964. Defandant Neal Sanders is upon information and belief a resident of Mecklenburg County,
8 " North Carolina. IER orn ae coreg
9 5. Defendant Ernest Johnson was at all relevant times Zone Supervisor of the Dafandant Pike, and was at ai
10 relavant times an employer and agent of an employer within the meaning of Title VII of the Civil Right
11 Act of 1964. Defendant Ernest Johnson is upon information and baliaf 5 resident of Mecklenburg County,
12 North Carolina.
13 6. Defendant Bobby Ellis was at all talavant times Zona Supervisor af the Defendant Pike, and was at al
14 relavant times an amployer and agent of an amployer within tha meaning of Title Vil of tha Civil Right
15 Act of 1964. Defendant Bobby Ellis is upon information and belief a rasident of Macklenburg County
16 North Carolina.
17 (il. SURISDICTIONAL STATEMENT
18 7. Plaintiff brings this action pursuant to the commen law of the State of North Carolina, Title Vil of tha Civi
19 Rights Act of 1964, 42 U.S. C. 20008 er. Seq., and Title | of the Civil Rights Act of 1991,42U.5.¢
20 1981a.
21 IV. FACTUAL STATEMENT .
22 8. Pratncit Jackie Dawn Lutz was employed by Defendant Fike fram March 16, 1998, until April 14, 2000.
23 9. Piaintite at the time of her constructive discharge was a secretary/dispateher for the Defendant Nei
24 Sanders.
25 10, During the entire tenure of her emplayment with the Defendant Pike, Plaintiff Lutz was sexually harassed
26 by various management personnel of tha Defendant Pike. - ; “.
27 71, Such harassment included Mika Stillwell saying, “I like your dress and everything In it-avan better, Bobby,
2a Ellis was constantly kissing at Plaintiff, even after he was cautioned by supervisor Bo Lankford, Earnest
29 Johnson papped Plaintiff on the rear end with rollad up papers. Bobby Ellis gave Ptaintiff a Pike Golf Shirt
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Page 2

 

 

 

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“When Plaintiff wore the galf Shirt Bobby Ellis toid Plaintiff, sha was slippose to Wear tha shire wit

 

 

 

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2 bra. Earnast Johnson coming up from behind and maasaging Plaintiff shoulders, and Nell Sanders and
3 Donald Anderson carried on a Conversation about the size of a doctor's fingers and that Plaintiff would
4 Probably want ta know that doctors namo, Plaintiff rajected all camments and Sexual advances mada by
5 anyone at Pike.
6 12, As a8 result of this hostile wark environment Plaintiff could na longer take the pressure and wa
? constructively discharged from her Position,

SYP 13°" “More than 186 days prior to filing’ this ection, Maintiff filed a charge of diseriminstion with the EEO
3 allaging that she had been discriminated against by all the Defendants, whan she was harassed and

10 constructively discharged,

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13 V. LEGAL CLAIMS

14 PLAINTIFE'S FIRST CAUSE OF ACTION - - Quid Pro Quo Sexual Harassment and Wrongful Termination of

16 Employment and in Violation of North Carolina Public Policy

16

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18 14, The Paragraphs enumeratad here and above are reincarporated by rafarance herein.

19 15. Tha public policy of the State af North Caralina includes the prohibition against discriminating against

20 émployses who refuse sexual advances and reject sexual harassment in viglations af Title Vil of the Civil

21 Rights Act of 1964, .

22 16, In allowing and participating in the sexual harassment and Gonstructivaly discharging the Plaintiff th

23 Defandants violated the public policy of the Stata of North Carolina.

24 17. As a result of Defendants’ acts, Plaintiff has lost wages and benafits, and sufferad emotional distress

25 Plaintiff is antitlad to receive compensatory damages in an amount in excasa of $10,000.00

26 18, Defandants’ actions were done maliciously, willfully or wantonly, or ina manner that demonstrates

27 reckless disragard for the Plaintiti's rights. As a result of Defendants’ conduct, Plaintiff is erititled td

2a recover punitive damagas in an amount In 4xcess of $10,000.00

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Page 3

 

 

 

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2 B. PLAINTIFF'S SECOND CAUSE OF ACTION - - Violation of Title vu
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5 19, Since at laast tha fall of 1999, tha Defendanta have engaged in unlawful employment practices at th
6 Charlotta office of Pike Electric, Inc., in violation of Section 703 and 704(a) of the Title Vil of tha Civi
7 Rights Act of 1964, 42 U.S.C. 2000e-2 and 3/8) at. gaq,
“BP "20.7" Plaintife has satisfied’ the jurisdictional prerequisites to“an action Under Title Vii by filing a charge of.
g discrimination against Oefandants within 180 days of her termination. Plaintiff has raceived a right to no
10 latter from the EEOC,
it 21, Defandants sexually harassed Plaintiff to the axtent that it Created a work environment so savere and
12 hostile that sha was constructively discharged, Defendants’ acts constitute a violation of Title VII"
13 prohibition against sex discrimination, including sexual harassment. Defendants have violated Saction
14 704(a) of Title Vil, 42 U. S.C, 2000e-3 (a).
15 22. AS & proximate result of Defendants’ wrangful conduct Plaintiff suffered loss af wages and benefits,
16 emotional distrags, humiliation, toss of reputation and other damages in an amount in excess of
17 $10,000.00.
18 23. Defandants’ actions were dona maliciously, willfully ar wantonly, of in a manner that demonstrates
19 reckless disragard for the Plaintiff's fights. Ag a result of Defendant's conduct, Plaintiff is entitled ta
20 recover punitive damages in an amount in excess of $1 0,000.00.
21 ~
23 c. PLAINTIFF'S THIRD CAUSE OF ACTION - + Assault and Battery
a!
25
26 24. Eamest Johnson hit Plaintiff on the rear end with a rolled up paper after approaching Plaintiff from behind,
27 25. Plaintiff rejected this advance and mica it clear to Earnest Johnson that this behavior was not acceptable!
28 26. Earest Johnson touched the Plaintiff without her consent,
29 27. Plaintiff was kept constantly aware of and in apprehension of Earnest Johnson.
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te “ "28." Plaintiff was in fear of g Subsequent attack on her person.” ~
2 29, Earnest Johnson again approached the Plaintiff from behind and began messaging Plaintiff's shoulders.
3 30. Plaintiff pulled away and again made it clear to Earnest Johnson thet this touching was not with he
4 consent and was unwanted.
5 31. As a direct and proximate result of Earnest Johnson's placing Plaintiff in apprehension of being touched,
6 and Piaintiff being Offensively touched, Plaintiff lost wages and benefits, auffered emotional distrass
7 humiliation, losa of reputation and other Compensatory damages in sn amount in excess of Ten Thousand
8 i) Dallaré (810,000.00) PN ree aes ne amas © team not a
9 32. Earnest Johnson's actions were done maliciausly, willfully or wantonly or In a manner that demonstrated
10 a reckless disragard for tha Plaintiff's fights. As a result of Dafandants’ conduct, Plaintiff is entitled ta
11 recover punitive damages in an amount in excess of Tan Thousand Dollars ($1 9,000.00).
12
13 D. PLAINTIFF’S FOURTH CAUSE OF ACTION — Sexual Harassment.
14
15
16 33, Plaintiff incorporates Paragraphs 1 through 32 of this camplaint herein and Said paragraphs ara hereby re-
17 . alleged and incorporated hargin by reference.
18 34. The Plaintiff at all times since beginning to work for the Defendants, was 3 good and loyal employee wha
19 devated her full time and energy and resources to the Defendants, and exercisad her best effart to cause
20 the Defendants to be successful and prosperous and, {n all respects, fully complied with the contract of
21 employment with the Defendants. .
22 35. Soin after Plaintiff began her employment with Defendants when general foreman Mike Stillwell that
23 likéd my dreas and everything in it even better.
24 36. Neal Sanders was Mike Stillwell’s supervisor,
25 37. Plaintiff advised Neal Sanders of Mike Stillwall‘s commant.
26 . 38. Neal Sanders told Plaintiff he would take care of it, ; = of
27 39. Plaintiff never had a further preblem with Mike Stillwell,
28 40. Bobby Ellis Zona Supervisor wag constantly kissing at the Plaintiff,
29 41, Plaintiff informed Bo Lankford of the problam,
a a aE wa SE EEE steerer amar eeee pny Sant AS BRET ite Rares PSTN sey ore Pete ES
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ene ate ee einen cet pee sesso tant ie scenes sawn
TT © #205" Bobby Eliis Stopped the kissing Uatil Bo Lankford was vansterrad out bf Charlotte,
2 43, Bobby Elis began the practice of kissing at Plaintiff again when Bo Lankford left.
3 44, Plaintiff was in her office alone standing up at the dask. bent over writing something down, whan Ernest
4 Johnson Zone Supervisor came In from behind and hit Plaintiff on her rear and with rolled Up papers in hi
5 hand.
8 45, Plaintiff advisad Neal Sanders of the incidant.
7 46. Neal Sandars advised Plaintiff he would take care of it.
Sif "47." ‘Ptaintiff was asked ‘by Donald Andarson Assistant Vice President’ if she had renewed her D. OT
9 physical.
10 48. Plaintiff advised that she had not.
11 49. Neal Sanders heard this conversation,
12 50. Neal Sanders stated that he had his D. O. T. physical renawed on March 24.
13 51. Neal Sanders removed hig card from his wallet white making this statement.
14 52, Naal Sanders statad that “Don | bet that doctor had fingers this big.”
15 53. Neal Senders while making the statement in Paragraph 52 put his index finger and thumb tegether td
16 show a big hole,
17 54. Neal Sanders and Donald Anderson both laughed.
18 ‘ 55. Neal Sanders walked to his office.
19 56, Donald Anderson was than in the hallway in front of Neal Sanders door.
20 57. Donald Andarsen then stated, “Neal, | bat Dawn wants to know the name of that dactar.”
21 68. Plaintiff than stated, “No thanks, ! Don’t think so." ~
22 59. Neal Sanders and Donald Anderson than walked down tha hallway and left for junch.
23 60. Later that day, Plaintift wae atone in her office.
24 61. Ernest Johnson walked into the Plaintiff's office and put his hand on top his shoulder over her tra strap
25 and bagan to massage her shouldar.
26 62. Plaintiff lat Ernest Johngon know this was unacceptable and he femoved his hand.
27 63. Plaintiff was alone in her office and when Bobby Ellis came in and saw Plaintiff In a Pike Electric. golf shirt.
28 64, Bobby Ellis stated, “You gat on one of your new shitts, now you know yau ware suppase to came in here
29 without a bra,
SITE CATR Ror Sen dE oe ma GR a Ted ema ea EL GML ne wie ER I AE coma eee
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“tht — ren ace cane is Sta EE i we Saale teen det ath pony Ct RS eS NNT SLO Sse aly espe die eo
T "65." "Neal Sanders was trying to loge weight, ~~ ~ “omen me
2 66, Neal Sanders askad Plaintiff Several time if sha could tall he wag losing weight.
3 67. Plaintiff was alao trying to losa waight,
4 68, Piaintiff asked Neal Sandars if he could tall she was losing weight,
5 69. Naal Sanders sald, “Yes, you're boobs are smaller.
6 70. The unwanted sexual harassment increased with Mainuff’s term of employment,
7 71. The unwanted sexual harasament advanced up the managamant hierarchy during Plaintiff's term of
a: empléyment?” Dette sete ek eee tee cree de
3 72. As a diract result of the Intentional infliction of amotional distrass by aach of the Defendants, and by th
10 corporate Defandant, through its agents, managers and officers, the Plaintiff has suffered savere menta
11 and emotional distrass, hag been raquired to seek madical attention for thie problem, and has incurred
12 medical expenses for doctors’ services and medication which ware necessitated by tha actions of thd
13 Defendants both indapandently and ia cancert.
14 73. Bacause of the actions above set forth Defendants are jointly and severally liable to the Plaintiff tog
15 compensatory damages in a sum in excess of Ten Thousand Dollars ($10,000.00).
16 74. The actions of the Defendants and the corporate Dafandant, by and through its agents, employees and
17 managers and officers were willful and wanton and were in total disregard of the rights of the Plaintiff
18 and give rise to punitive damages.
19 75. Because of tha above actions abova sat forth Defendants are jointly and severally liable to the Plaintiff for
20 punitive damages in @ sum in excess of Tan Thousand Dollars ($1 0,000.00).
21 ..
22 =
23 Hi, JURY TRIAL DEMANDED
24
25
26 76. Plaintiff hereby demands a trial by Jury. = .
27 || --
28 PRAYER FOR RELIEF ,
29
aA aE EE SE ae ee 0 Se IS OS Sg ay Te tt a I ire
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2 WHEREFORE, Plaintiff prays this Honorable Court enter judgment against Defandants as follows:
3 1, Enter a judgment against the Defendants finding that they hava sexually harassed and constructively
4 discharged Plaintiff;
5 2. Declara that Defendants have violated Plaintiff's rights under Title VII of the Civil Rights Act of 1964;
6 3. . Award Plaintiff compangatory damages in axcags of $10,000.00, including damages for financial led
7 suffered and for amational pain and suffering; humiliation, anxiety, toss of reputation, and harm td
“8 | . " Plaintiff's ecenomic opportutities: gree ene an ener a
9 4. Award Plaintiff punitive damages for Defendants’ willful and Malicious conduct;
10 5, Award Plaintiff costs and reasonable attorney faas to Plaintiff's attorney;
11 6, Award Plaintiff prejudgment interest on the above;
12 7. Grant such other relief to Plaintiff as this Court deems equitable.
13 This the 27" day of April, 2001,
14 Respectfully submitted,
15
17
18 Michael A. Johnson, Vv
153 Church Streat, NE
19 Concard, North Carolina 28025
Telephone: (704) 788-6721
20 Facsimile: (704) 796-9826 *
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STATE OF NORTH CAROLINA
CABARRUS COUNTY
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I, } 7 Seckle Dawn Lutz, being duly sworn deposes and says:

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+

infoymation and belief, and as to thase matters {s}he believes them to be true.

Sworn ta and subscribed before me, this
27™ day of March, 2

NEL
"Notary Publie| “7

My Commission Expires: August 4, 2003

      
  

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1
VERIFICATION
2

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by. , Th&at,the contents of the foragoing Complaint ara true to hear own knowledge, except as to matters statad upon

 

 

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